Case 2:22-cv-08357-DOC-JEM Document 86-2 Filed 10/06/23 Page 1 of 1 Page ID #:1407




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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10   JEFFREY POWERS et al.,                      Case No.: 2:22-cv-08357 DOC (JEMx)
  11               Plaintiffs,                     Hon. David O. Carter
  12   v.                                          [PROPOSED] ORDER GRANTING
  13
                                                   LEAVE TO FILE AMICUS BRIEF
       DENIS RICHARD MCDONOUGH,
  14
       in his official capacity as Secretary of
       Veterans Affairs, et al.,
  15               Defendants.
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  17         The Court, having considered the motion of non-party Swords to
  18   Plowshares for leave to file an amicus brief, and finding good cause therefor,
  19   hereby GRANTS the motion and ORDERS the non-party to promptly file the
  20   proposed amicus brief attached to the motion.
  21         IT IS SO ORDERED.
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  23   Dated:
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                                                David O. Carter, U.S. District Judge
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                                 MOTION FOR LEAVE TO FILE AMICUS BRIEF
